
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-03-146-CV



AUDRA BROTHERS, INDIVIDUALLY 	APPELLANTS

AND AS NEXT FRIEND OF ALEXANDRIA 

APPLEGATE, A MINOR, AND SUE 

BROTHERS



V.



REYNALDO DELARA	APPELLEE

----------

FROM THE 43
RD
 DISTRICT COURT OF PARKER COUNTY

----------

MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

----------

We have considered “Appellants' Motion To Dismiss.” &nbsp;It is the court's opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See 
T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f).

Appellant shall pay all costs of this appeal, for which let execution issue. &nbsp;
See
 
Tex. R. App. P
. 42.1(d).

PER CURIAM	

PANEL D:	LIVINGSTON, DAUPHINOT, and HOLMAN, JJ.



DELIVERED: June 26, 2003

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




